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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

SECURITIES AND EXCHANGE      §
COMMISSION,                  §
                             §
      Plaintiff              §
v.                           §                     CIVIL ACTION NO. 3:09-CV-0298-N
                             §
STANFORD INTERNATIONAL BANK, §
LTD., ET AL.,                §
                             §
      Defendants             §
                             §
                             §
THE OFFICIAL STANFORD        §
INVESTORS COMMITTEE,         §
                             §
      Plaintiff,             §
                             §
v.                           §                     CIVIL ACTION NO. 3:12-CV-01447-N
                             §
BDO USA, LLP, et al.,        §
                             §
      Defendants.            §


     APPENDIX IN SUPPORT OF EXPEDITED REQUEST FOR ENTRY OF
 SCHEDULING ORDER AND MOTION TO APPROVE PROPOSED SETTLEMENT
 WITH BDO USA, LLP TO APPROVE THE PROPOSED NOTICE OF SETTLEMENT
  WITH BDO USA, LLC, TO ENTER THE BAR ORDER, TO ENTER THE FINAL
  JUDGMENT AND BAR ORDER, AND FOR PLAINTIFFS’ ATTORNEYS’ FEES

           Ralph S. Janvey, (the “Receiver”), and the Official Stanford Investors Committee

(“OSIC”), file this appendix (the “Appendix”) in support of the Expedited Request for Entry of

Scheduling Order and Motion to Approve Proposed Settlement with BDO USA, LLP to Approve

the Proposed Notice Of Settlement with BDO USA, LLC, to Enter the Bar Order, to Enter the

Final Judgment and Bar Order, and for Plaintiffs’ Attorneys’ Fees (the “Motion”).




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EXHIBIT                              DESCRIPTION                             APP. NOS.

                                APPENDIX MATERIALS

    1      Settlement Agreement                                              0001-0076

    2      Declaration of Douglas J. Buncher                                 0077-0096

   2-A     Neligan Foley LLP Invoices dated May 15, 2015                     0097-0137

   2-B     Revised Fee Agreement dated April 10, 2014 between Official       0138-0154
           Stanford Investors Committee and Neligan Foley LLP, Castillo
           Snyder, P.C., Strasburger & Price, LLP, and Butzel Long, P.C.

    3      Declaration of Edward C. Snyder                                   0155-0221

    4      Declaration of Edward F. Valdespino                               0222-0263

    5      Declaration of Peter D. Morgenstern                               0264-0271

    6      Order Approving Attorneys’ Fees                                   0272-0278

    7      Declaration of Examiner John J. Little                            0279-0286

Dated: May 15, 2015                          Respectfully submitted,


                                             /s/ Douglas J. Buncher
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                                             ATTORNEYS FOR RALPH S. JANVEY IN HIS
                                             CAPACITY AS COURT-APPOINTED RECEIVER FOR
                                             THE STANFORD RECEIVERSHIP ESTATE




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                                           CASTILLO SNYDER, P.C.

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                                           ATTORNEYS FOR THE OFFICIAL STANFORD
                                           INVESTORS COMMITTEE

                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon all counsel of record via the Court’s ECF system in May 15, 2015.

                                             /s/ Douglas J. Buncher
                                             Douglas J. Buncher




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